            IN THEJOO~JAI(l)J./SUPEIUOR COURT FOR THE STATE OF ALASKA
                                   AT ANCHORAGE

                                                    )
 CYNTHIA GREINER mmms,                              )
                                    Plaintiff(s),   )                                                  3
 VS,                                                )

                                                                         __.oc13"--·"--J-q-"'{)'--'Q'-'~_s-
                                          )
                                          ) CASE NO. "'-'-3A"'-'N'-=-- __
                                          )
 SMftll & NllPHEH AHI', INC; JOHN DOES I·-j;              SUMMONS AND
                          Defendant(s).   )      NOTICE TO BOTH PARTIES
                      ______ )                  OF JUDICIAL ASSIGNMENT
 To Defendant:        SMITH f, NllPHEW AHP, JNC

 You are hereby summoned a_nd required to file with the court a written answer to the complaint
 which accompanies this summons. Your answer must be filed with the court at 825 W. 4th Ave.,
 Anchorage, Alaska 9950 I within 20 days* after the day you receive this summons. In addition,
 a copy of your answer must be sent to the plaintiff's attorney or plaintiff (if unrepresented)
PhilliiL_paul ~Jtyfdner & Annoeiflhjs      , whose address is:   330 I <)trec~t 9 Su·fte 200
                                                             Anchorag", Mi. 99501

 If you fail to file your answer within the required time, a default judgment may be entered
 against you for the relief demanded in the complaint.

 If you are not represented by an attorney, you must inform the court and all other parties in this
 case, in writing, of your current mailing address and any future changes to your mailing address
 and telephone number. You may use court form Notice of Change of Address I Telephone
 Number (TF-955), available at the clerk's office or on the court system's. website at
 www.courts.alaska.gov/forrns.htm, to inform the court. - OR - If you have an attorney, the
 attorney must comply with Alaska R. Civ. P. S(i).

                              NOTICE OF JUDICIAL ASSIGNMENT
 TO: Plaintiff and Defendant
~are hereby given notice that:                                A/I
)~ This case has been assigned to Superior Court Judge _ _..,L'c..._
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                                                                                 ,/A y
                                                                            __c..__L.__._ __
   and Master _ _ _ _ _ _ _ _ _ _ _ _ _ .
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 _ _j_" J5·~- I 5
               Date            _.
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 I certify that on /::;,
                                    7
                             a copy of this Summons was       0 mailed


.
 0 plaintiff .)!2r plaintiffs counsel along with a copy of the
 0 Domestic Relatlons Procedural Order 0 Civil Pre-Trial Order
   "'"'"' '"' ""~·"
 Deputy Clerk~-  -+--'"" '"~""'·
 * The State or st tfe officer or agency named as a detendant has 40 days to file its answer. If
 you have been se ed with this summons outside the United States, you also have 40 days to file
 your answer.
 CTV· 100 ANCH (6/IO)(st.3)                                               Civil Rules 4, 5, 12, 42(c), 55
 SUMMONS




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                         IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
                              THIRD JUDICIAL DISTRICT AT ANCHORAGE

      CYNTHIA GREINER HOLMES,                         )                      COP'r
                                                      )               Original Received
                           Plaintiff,                 )
                                                      )                  AUG 23 2013
       v.                                             )
                                                      )              Clerk of the Trial Courts
      SMITH & NEPHEW AHP, INC.; JOHN                  )
      DOES I-X,                                       )

                           Defendants.                j   Case No. 3AN-13-   0GD6         CI
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~                                                   COMPLAINT
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                 COMES NOW Plaintiff, Cynthia Greiner Holmes, by and through counsel, Phillip Paul

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       Weidner of Phillip Paul Weidner & Associates, APC, and hereby state, plead, allege, claim,
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•      and complain as her causes of action in the instant matter as follows:

                                                     PARTIES

            1. Plaintiff CYNTHIA GREINER HOLMES was and is a resident of the State of Alaska

                  at all times pertinent hereto. She underwent left hip replacement surgery on December

                  3, 2009 at Alaska Regional Hospital by Dr. Douglas Prevost, utilizing Smith & Nephew

                  Ahp, Inc.'s metal on metal components identified in the following procedure: Right

                  total hip arthroscopy with the following implants: Smith & Nephew total hip system
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                  size #5; Anthology standard offset femoral stem; 38-mm modular femoral head with +4

<                 neck length; 50-mm outer diameter, 3-holed hemispherical stick tight-coated shell; 38-
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z                 mm cobalt chrome acetabular liner; and a 6.5-mm cancellous bone screw xlm, central
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?,                hole cover xi.
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"~          2.     Cynthia Greiner Holmes received Smith & Nephew components in her surgery. (See

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                  Operative Report as Exhibit 1).
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                                                                                                 Page 2 of 15
         3. Defendant SMITH & NEPHEW AHP, INC. (hereinafter Smith & Nephew) is a

             corporation whose registered Office Address in the United States is 1450 Brooks Road,

             Memphis, TN 38116 and whose Registered Agent is CT Corporation System. Smith &

             Nephew is and was doing business in Alaska, the United States and throughout the

             world at all times relevant hereto, in a manner reasonably calculated to have an impact

             on the State of Alaska, and an impact on the Plaintiff herein in a foreseeable manner,

             which resulted in the Plaintiff's injuries such as to subject it to jurisdiction in the Courts

              of the State of Alaska.      Smith & Nephew designed and/or manufactured and/01'

              distributed and/or sold the Smith & Nephew Surgical Components at issue to Alaska

             Regional Hospital.

         4. Defendartts JOHN DOES 1-10 are entities and/or individuals presently unknown to

              Plaintiff, who were either related to Smith & Nephew and/or involved in the design,

              manufacture, selling, advettising, warranting, and/or distributing of the subject Smith &

             Nephew Surgical Components and/or involved in the research, and/or testing,

             marketing of said products and/or similar products or component parts thereto, or

              responsible for same.

         5. It is the intent and purpose of the filing and service of this Complaint to make claims

              against and file suit against and give notice to all culpable entities or individuals and to

              preserve Plaintiff's right to obtain relief from same, and named Smith & Nephew is

              requested to notifY all culpable defendants and parties.             In the event further

              investigation and discovery reveal that the precise Smith & Nephew's Surgical

              Components implanted in Cynthia Greiner Holmes are different then that set out herein,

              then it is the intention of this complaint to bring suit against the named Smith &


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    Holmes v. Smith & Nephew Ahp, Inc.                                             Page2 of!O




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              Nephew as well as any other culpable Defendants based upon similar theories of

              liability. This includes but is not limited to culpability and liability as to actual use of

              the precise Smith & Nephew's Surgical Components as well as involvement industry

              wide and activities relating to the design, manufacture, marketing, advertising, warranty

              and sale and/or use of said products.

                                      FACTS COMMON TO ALL COUNTS

          6. Plaintiff Cynthia Greiner Hohnes underwent right hip arthroplasty surgery on

              December 3, 2009 at Alaska Regional Hospital by Dr. Douglas Prevost, utilizing Smith

              & Nephew's Surgical Components identified in the following procedure: Right total

              hip arthroscopy with the following implants: Smith & Nephew total hip system size #5;

              Anthology standard offset femoral stem; 38-mm modular femoral head with +4 neck

              length; 50-mm outer diameter, 3-holed hemispherical stick tight-coated shell; 38-mm

              cobalt chrome acetabular liner; and a 6.5-mm cancellous bone screw xlm, central hole

              cover xl.

          7. Cynthia Greiner Hohnes experienced pain, suffering, disability and ultimately required

              removal of the Smith & Nephew's Surgical Components in another surgery that

              occurred in December 2012. She has suffered wear on her Smith & Nephew's

              prosthesis due to metal on metal wear and tear resulting in the wearing out of the hip

              replacement years prematurely, causing a additional surgery and causing elevated

               levels of cobalt and chromium in her blood with attendant health care risks, pain and

               suffering, disability and need for additional surgeries.

          8. At the time of the sale and/or use of the subject Smith & Nephew Surgical Components

               and/or the injuries to the Plaintiff, Smith & Nephew was engaged in the business of


     COMPLAINT
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                         designing and/or manufacturing and/or selling and/or distributing and/or marketing said

                         alleged Smith & Nephew Surgical Components and other similar products. Smith &

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                         Nephew had an obligation and responsibility to design and manufacture and sell and
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        N                introduce into the stream or commerce, Smith & Nephew Surgical Components free of
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     ~                   defects. These products continued to be manufactured, marketed, sold, and Smith &

                        Nephew refused to recall, or warn, even after it became known that said products could

                        fail and cause severe injury to the recipients including knowledge of similar products
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     <                  failing and/or being recalled before the surgery on CYNTHIA GREINER HOLMES,
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                        leading to severe chronic pain, the need for additional surgical procedures, ultimately
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                        permanent impairment, and metal poisoning and was defectively designed and/or
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 w                      manufactured and/or marketed without adequate warning and without adequate testing
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 <                      or studies.

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                    9. As set out herein, the subject Smith & Nephew Surgical Components, were defectively

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                        designed and/or manufactured and/or advertised and/or warranted and sold without
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•:l                     adequate wamings to health care providers, without providing adequate information on

                        the failure rate, on the hazard, on other failures of the Smith & Nephew Surgical

                        Components to function as advertised, and furthermore, insofar as the product failures

                       and problems were known and/or concealed and/or imputably known by Smith &

                       Nephew and said Defendant's culpable acts or omissions as to said products, including

                       the Smith & Nephew Surgical Components which caused injuries to Plaintiff

                       CYNTHIA GREINER HOLMES, such that said Smith & Nephew Defendant is strictly
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                       liable for same, and/or negligent and subject to all appropriate compensatory and

                       punitive damages. The subject Smith & Nephew Surgical Components used in the
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             COMPLAINT
             Holmes v. Smith & Nephew Ahp, Inc.                                         Page4of10




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      "'
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                       surgery of December 3, 2009 on CYNTHIA GREINER HOLMES are identified in
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                       Exhibits 1 and 2 (Operative Repo1t of December 3, 2009 and Alaska Regional Hospital

      0                Progress Note of April3, 2012).
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     "'            IO. On information and belief, neither the Smith & Nephew Defendant(s) nor their
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                      representatives informed Alaska Regional Hospital and/or Dr. Douglas Prevost of the

                      failure rate, and/or of adverse events in the product and/or similar products, minimized

                      the risk, failed to provide appropriate warnings and other information, and advertised

                      the product as the best available such product on the market at the time.

                  II. The Smith & Nephew Surgical Components were either defectively designed and/or the

                      particular Smith & Nephew Surgical Components were defectively manufactured for

                      use in hip replacement surgery.

                  I2. The Smith & Nephew Surgical Components, on info1mation and belief, are not

                      otherwise subject to federal preemption under the law.

                                                FIRST CAUSE OF ACTION
                                                   STRICT LIABILITY

                 13. Plaintiff realleges, replead, recomplain and restate as her causes of action herein

                     Paragraphs 1 through 12 above as though fully set out.

                 14. Smith & Nephew Defendants (Smith and Nephew and John Does 1-10) are strictly
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                     liable for the manner in which the Smith & Nephew Surgical Components were
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 w                   designed, manufactured, advertised, warranted and/or distributed, which did not
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                     perform as a reasonable consumer/user would expect, including Dr. Prevost, the
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                     surgeon, and CYNTHIA GREINER HOLMES, the patient.




           COMPLAINT
           Holmes v. Smith & Nephew Ahp, Inc.                                           Page 5 of 10




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                                           FOURTH CAUSE OF ACTION
                                             EXPRESS WARRANTY

            19. Plaintiff realleges, replead, recomplain and restate as their causes of action herein

                Paragraphs 1 through 18 above as though fully set out.

            20. Smith & Nephew Defendants are liable due to breach of express warranties, including

                misrepresenting to Dr. Prevost the quality/safety of the Smith & Nephew Surgical

                Components for hip replacement surgery.


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                                           FIFTH CAUSE OF ACTION
                                              FAILURE TO WARN

            21. Plaintiff realleges, replead, recomplain and restates as their causes of action herein

                Paragraphs 1 through 20 above as though fully set out.

            22. Smith & Nephew Defendants are liable due to failure to warn and/or alert consumers of

                the failure rate of Smith & Nephew Surgical Components used on CYNTHIA

                GREINER HOLMES and/or their defective nature. Her health care providers did not

                learn until Spring of 2012 that the cause of CYNTHIA GREINER HOLMES' problems

                was defective Smith & Nephew Surgical Components, which knowledge, if revealed

                sooner could have resulted in her health care providers not using the Smith & Nephew

                Surgical Components at the initial surgery or if revealed after the surgety but sooner

                than the recall was actually made could have resulted in her health care providers

                providing appropriate care sooner.

                                           SIXTH CAUSE OF ACTION
                                               CONCEALMENT

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 2          23. Plaintiff realleges, replead, recomplain and restate as their causes of action herein

                Paragraphs 1 through 22 above as though fully set out.


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      COMPLAINT
      Holmes v. Smith & Nephew Ahp, Inc.                                        Page 7 of 10




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              potential complications of use of product and are liable under strict product liability and

              negligence in the failure to recall.

                                            PUNITIVE DAMAGES

          29. The reckless and willful and grossly reckless and wanton actions of the Smith &

              Nephew Defendants, with reckless and willful disregard for the consequences, warrant

              punitive damages as to the conduct of each and all of said Smith & Nephew

              Defendants, which was willful, wanton, reckless, and grossly reckless and in deliberate

              and willful disregard of the foreseeable consequences; such that punitive damages in an

              appropriate amount should be awarded, given due regard for the net worth and

              insurance coverage of the Smith & Nephew Defendants, and the reckless, willful,

              grossly negligent, culpable, and wanton conduct of the Smith & Nephew Defendants to

              chill and deter and punish such conduct and failure to act.

                                            PRAYER FOR RELIEF

             WHEREFORE, Plaintiff prays for the following relief:

             1.      Imposition of compensatory damages jointly and/or severally against defendants

      in the maximum amount allowed under the law, in an amount in excess of$100,000;

             2.      Punitive damages against the defendant in an amount in excess of$100,000;

             3.      For appropriate prejudgment and post judgment interest in the maximum amount

      allowable by law;

             4.      For costs and attorney's fees in the maximum amount allowable under the law;

             5.      For each and other relief the Court deems just and equitable.




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                                                  '~
         RESPECTFULLY submitted this          MI..day of August, 2013, at Anchorage, Alaska.
                                                               WEIDNER & ASSOCIATES
                                                               Counsel for Plaintiff


                                                        By:       ~ f..A__.~
                                                               Phillip Paul Weidner
                                                               ABA No. 7305032




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                                                                                                         ALASKA REGIONAL HOSPITAL

                                                                                                         NAME: HOLMES, CYNTHIA GREINER
                                                                                                         MR#: l000438371
                                                                                                         Douglas P. Prevost, M.D.

                                                                                                         RMN: L62502
                                                                                                         OOB: 03/0011957
                                                                                                         SSN: 36+70-5623

                               OPERATIVE REPORT

                               DATE: 1210312009

                       • SURGEON: Oougfas P. Prevost, M.D.
                              ASSISTANT: John C. Godereky, MD.

                              ANESTiiESIOLOGIST: Kevin Alexander Kozlcz, MD.

                              PREOPERATIVE DIAGNOSES:
                              1. Rl!Jht hlp dysplasia.
                              :a,Osteoar11lritis of the right hip.

                             POSToPERATIVE DIAGNOSES:
                             1. Right hlp dyspla$ia.
                             2. Osteoartfirilis of the tight hip.
                             PROCEDURE: Rlghttotal hip arthroplasty.
                            IMPLANTS:
                            1. Smith and Nephew tolal hlpsyst~m size IS.
                            2, Anthology s~1111QJY,I om>oU,moral s~&m. ...•
                            3. A 38.ftlm m<l.dula.t1(1lnQmt.I\~Jad.Wltf) t'4:Mck l$!@h.
                            4.         A' 50-mm oilflifdliiffiefii..,~:~o~aa'.h~mJ~nft!W.i!F4tck tight-coated shell.
                            s.         A 38.ftlm'OCibl\lt;tf®rtu:.\iDiJialiUtiit'llil!!fi ·
                   ·:1.,    e.         A 6.5-mm cancellous bone'Siir~w.i1;'iientral hole coverx1.

                            ES11MATED BLOOD LOSS: 250 co.

                            DRAINS: Hemovac drains x1.

                           INDICA110NS: The patient Is e 52-year-old female with a longstanding historY of right hip
                           dysplasia and progressive osteoarthritis. She has undergone extensive nonsurgical treatment
                           11nd ha.s failed to have ad&quate pain relief. Due to persistent pain and poor function, she has
                           been indicated for total hip replaoement.

                           Specifically, ws have discussed the risks for Infection, nerve or vascular injury, DVTIPE,Ioss
                           of motion, Incomplete pain mllef, the potential need fur future revision surgery, and the medical
                           risk of procedure. She seems to understand these l~ues and wishes to proceed.



                           Copy For: Douglas P. Prevost, M.D.                                                                Page 1
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                                                                                             EXHIBIT 1
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                                                                  ALASKA REGIONAL HOSPITAL

                                                                  NAME: HOLMES, CYNTHIA GREINER
                                                                  M~   L000438371
                                                                  OPERATJVE REPORT

           We have ~;~lso discussed issues related to leg lenglh lllflqU!!IIty, intraoperative fracture, and
           dislocation.
           DESCRIPTION OF OPERATION: After obtaining preop consent, the patient was taken to the
           operating 01om and a · anosfhetlo Wil$ administered without r::ompllcatlons. The patient
           received 2 g of                 . Tile patient was then placod Into the left lat<~ral
           docubltua                       ·          ·               roll. The right hlp region was then
                                                                        Impervious drapes. A standard
                                                                   Incision was taken down sharply to the
'·'·
                                                            lll.t.l[lf(l:Kimalf~' a~1d the dissection was taken
                                                                       W,O!s_id!en'tlHetd and tagging sutures
                                                                                   remainder of the short
                                                lr.IJ>SUIIe e.xpcoset~. Capsulotomy was conducted




           The hlp W<!S than dislocated and a femoral nackout 1      emproximal to the level of the Iasser
           trochanter. Appropriate reltilctol'$ w<lte placed and the acetabulum exposed, The remaining
           labrum and pulvinar were el(o!~d. The aQetabu!um was than deepened down to the
           quadllfat9ral plate of bone and then progressively widened. I irilllally started a 42-mm reamer
           and 1hen progreSlliVelywldaned out to a.50-mm reamer. At15 mm,l had excellent endosteal
           bleeding bone. Duiing the reaming process. I bied tctcreate approximately 25 degrees of
           anteveJ'$ion and 45 degrees oflaterel oJ)enlng to the cup. I then lmpaot&d a size 50 outer
           dfamewr stick tight R-3 cup Into 25 deigrees of anwverolon. One 6.5-mm oanccllus bone
           screw. was placed.to a!lgment fixalion.-A Gln~~cto cap-screw was-placed,- The-36-mm cobalt
           chrome liner was then pfaci1d into tha acetaOOiilrnand 6ecured ~ng a Morse taper.

           Ait<Jntlon was then turned towards the prex!m_al femur. A box osteotome was used to galn
           ently Into the canal and an awl was uaed.to ®Und the canal. I began broaching with a size #1
           broach apd ullimat. PI'Cior~.ae.o~JW lo.lil si1;4l!~· At}!!lze ll5.,1 had excelh:mt ax!al and
           reWI.otmt®~l. ~·            · .,;'Wllb':'ll'ts:: · ·, atundafil offset stem and a +4 neck lenglh
           and a®~mrn}tP.ad., .. . . .     'moml#e ·            ~.i:lQ.Il:iattna the hlp had exeellent sts!lility
           iliruqg~f)lllaJ'ulf.P~VC!oa~i~llllil~f              o.fuiidal'ill}tof dlslouate except with traoUon,
           •rnarnod~nteinatmtaUon:.)liindfl~idolf.

       i   The trial components were removed and 1he aot1.13l size fl5 anthology standard offset stem
           was then impacted Into 15 to 20 degrees of anteversion. I utilized a +4 neck length on the 38-
           mm head and reduced the hlp.

           The hlp was then extensively Irrigated with a total of 3 L of pulse lavage solution, which
           conlainad baollracln. The hip was Injected with platelet rich plasma to help assist with wound
           healing. The capsule and short external rotatOrs were reap proxima tad down to the greater

           Copy For: Douglas P. Prevo~at, M.D.                                             Page 2


                                                  EXHIBIT 1
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                                                                                               ALASKA RE1GIONAL HOSPITAL

                                                                                               NAME: HOLMES, CYNTHIA GREINER
                                                                                               MRS: 1.000438371
                                                                                               OPERATIVE REPORT
                              trootlanter utilizing #5 Elhlbond suture, A lllngle ono·oighth Inch Hemovao drain was placed
                              distally and anteriorly. The JT band was closed Utilfzing running locked 12 Vicryl sutures,
                         subeutaneous tissue was closed utilizing buried #1 Vlcryl sutures and buried 2.0 Vicryl
                         su!Ures, and the skin W!lS then closed uHJizlng running +o Monocryl stitch. Masllsol and Steri·
                      ,, strips wem applied, A bulky sterno dre$Sing was than plaoGd. Th~t patient then had a
                         standard hlp abduction pHJow placed as well. The patient tolerated the procedure wolf and had
                         no lntmoperatlvo complloations. Of nato, prior to starting the proo&duro, SCDs ware placed on
                         the lell;lowerel!lreiJlity and at the completion of the prooedui'<O, SCDs wero placed on the right
                         lower extremity.




                             DOuglas P. Pievest,'M.b.d ·
                              MEOQ/JOBI411242
                             o: 12103/21lQ9 09:36:28
                             T: 12/03/2009 20:54:18




                             Copy For: Douglas P. Prevost, M.D.                                                Page3


                                                                                   EXHIBIT 1
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  Apri13, 2012                                                 Holmes, Cynthia G #182482
  CHIEF COMPLAINT: Ms. Holmes returns today for a followup evaluation of her right hip.

 INTERVAL HISTORY: She underwent right total hip replacement on December 3, 2009. She says she did very
 well for the first year and a half, but has developed progressively worsening symptoms in her right hip. She is
 complaining of an achil)g sensation about her right hip and points to the groin as the source of her pain. She
 also has some buttock discomfort that extends down into the thigh. She says she feels like that area is on fire
 now for the last couple of months. She says the pain gets to be as bad as an eight out of ten. She says
 sometimes, the pain is as good as a zero out of ten. She says routinely, the pain is at least a two or three out
 of ten. She states that she is not sleeping well at night due to the pain. She has undergone a Smith & Nephew
 large femoral head metal-on-metal articulation total hip replacement. We did measure the cobalt levels at last
 visit, and they came back at 5.2 mcg/l. The patient returns today to discuss treatment options. She denies any
 memory Joss. She denies any depression. She denies any hearing Joss or tinnitus as well. There are no
 systemic symptoms at all reported. Her only symptoms are those related to her right hip.

  PHYSICAL EXAMINATION: Physical examination shows pain on range of motion testing. There is pain at the
  extremes of forward flexion and also pain at the extremes ·of wide abduction. She has a nonantalgic-type gait.
  Her calves are soft and nontender. She is neurologically and vascularly intact. Straight leg examination is
· negative for radicular signs.

 ASSESSMENT:
 1. Painful right hip status post right total hip arthroplasty utilizing a metal-on-metal articulation.
 2. Elevated serum cobalt levels without systemic signs of cobalt toxicity.

 PLAN:                                                                                                                  ,
 1. I have discussed with the patient extensively her clinical history, her physical examination, and her treatment
 to this point. I have reviewed with her the above diagnoses.
 2. Given the worsening nature of the patient's local pain in her hip, I think It is reasonable to consider revision
 total hip replacement. She does have a modular metal-on-metal total hlp replacement from Smith & Nephew.
 Her acetabular and femoral components appear to be well-fixed and appropriately placed. 1have di.scussed
 with the-patient that the bearing surface.s can be exchanged to a ceramic-polyethylene or metal-polyethylene
 without having to remove the acetabular component or the femoral component. I have discussed this issue
 with the patient extensively.
 3. She is quite disappointed that the hip has to be revised so soon, and she is hopeful for significantly longer
 longevity. I have discussed this· issue with the·patient·extensively, and·uJtimately, we have-decidetno- proceed ··
 with revision, given her significant local symptoms. I have discussed with the patient the concerns for systemic
 toxicity, and I have reeommended to her that revision be undertaken sometime within the next six months, or
 sooner if she desires. The patient would like to proceed as soon as possible, and she will be scheduled for
 revision right total hip replacement.
 4. I have thoroughly discussed with the patient this· pr-ocedure, and I have described it to her in detail. 1have
 discussed with her the potential risks and potential benefits as well. I have answered the patient's questions
 fully.

 &.~:1).
 Dictated by: Douglas Prevost, MD/RI358
 D: 04/05/2012 '
 T: 04/07/2012



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                                                   EXHIBIT 2
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